
In re Louisiana State Bond Comm.; Louisiana St. Prop. Ownrs.; Louisiana St. Citizens; Scott, John W. — Other; Crane, Carl N. — Other; Donelon, James J. — Other; Forster, Garey James — Other; Gee, Terry W. — Other; Hand, Keman A. — Other; Lancaster, Charles D. Jr. — Other; applying for writ of certiorari and/or review, prohibition, mandamus, supervisory &amp; remedial writs; Parish of East Baton Rouge, 19th Judicial District Court, Div. “A”, No. 318281.
Writ granted. The parties are ordered to file briefs in this Court on or before July 29, 1987.
